
PER CURIAM.
By petition for a writ of certiorari we have for review an order of the Florida Industrial Commission bearing date February 21, 1966.
We find that oral argument would serve no useful purpose and it is therefore dispensed with pursuant to Florida Appellate-Rule 3.10, subd. e, 31 F.S.A.
Our consideration of the petition, the record and briefs leads us to conclude that there has been no deviation from the essential requirements of law.
It is further ordered that a fee of $250.00' be awarded to the attorney for the respondent.
The petition is, therefore, denied.
THOMAS, Acting C. J., and ROBERTS,. DREW, O’CONNELL and CALDWELL,. JJ., concur.
